                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                                  Case No. 03-CR-194

FREDERICK MITCHELL
               Defendant.


                                     DECISION AND ORDER

       On May 13, 2005, I sentenced defendant Frederick Mitchell to 135 months in prison

followed by 5 years of supervised release on his guilty plea to conspiracy to distribute five

kilograms or more of cocaine. See 21 U.S.C. §§ 841(b)(1)(A) & 846. I later reduced the prison

term to 97 months under Fed. R. Crim. P. 35(b). Defendant completed the prison term and

commenced supervision in June of 2012.             He now moves for early termination of his

supervised release.

       Under 18 U.S.C. § 3583(e)(1), the district court may, after considering the factors set

forth in 18 U.S.C. §§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7):

       terminate a term of supervised release and discharge the defendant released at
       any time after the expiration of one year of supervised release, pursuant to the
       provisions of the Federal Rules of Criminal Procedure relating to the modification
       of probation, if it is satisfied that such action is warranted by the conduct of the
       defendant released and the interest of justice[.]

The statute thus requires three elements be satisfied to grant early termination: (1) the

defendant must have completed at least one year of supervision; (2) the government must

have been given notice and an opportunity to be heard; and (3) the court must find that

termination is in the interest of justice based on the defendant’s conduct and the pertinent



     Case 2:03-cr-00194-LA        Filed 09/04/13     Page 1 of 4      Document 835
sentencing factors under 18 U.S.C. § 3553(a). See United States v. Medina, 17 F. Supp. 2d

245, 245-46 (S.D.N.Y. 1998). In the present case, defendant has served more than one year,

and the government has responded (in opposition) to the motion. The issue is thus whether

termination is warranted by defendant’s conduct and the interest of justice.

       The district court possesses wide discretion in making this determination. See United

States v. Hook, 471 F.3d 766, 771 (7th Cir. 2006). However, courts have generally concluded

that the conduct of the defendant needed to justify early termination should include more than

simply following the rules; otherwise, every defendant who avoided revocation would be eligible

for early termination. See, e.g., Medina, 17 F. Supp. 2d at 247 (“While [the defendant’s]

post-incarceration conduct is apparently unblemished, this alone cannot be sufficient reason

to terminate the supervised release since, if it were, the exception would swallow the rule.”).

Instead, courts have generally granted early termination only in cases involving some new or

unforeseen circumstance, which may include exceptionally good behavior, or where

supervision impedes the defendant’s rehabilitation. United States v. White, No. 06-CR-50,

2012 WL 5198364, at *2 (E.D. Wis. Oct. 19, 2012) (collecting cases). The defendant bears

the burden of demonstrating that early termination is justified. Id.

       In his motion, defendant indicates that he participated in programming through the

Bureau of Prisons and successfully completed 6 months of pre-release halfway house time.

Since commencing supervision, he has maintained employment, first as a barber and personal

trainer, then with the United States Postal Service (“USPS”). He indicates that he hopes to

advance within the USPS. Defendant further indicates that he has reconnected with his three

sons and his elderly father. Two of his sons reside in Atlanta, GA; one recently graduated from

college, the other is a sophomore in college. His third child lives in Racine, WI. His father lives

                                                2


    Case 2:03-cr-00194-LA        Filed 09/04/13     Page 2 of 4     Document 835
in Mississippi. Defendant indicates that he would like to be able to travel on short notice to

support his sons and his father. Finally, he notes that he has satisfied all court-ordered

financial obligations and complied with his conditions. He seeks early termination of his

supervision based on family and work related factors.

       Defendant is to be commended for his compliance and pro-social conduct since release.

However, the court expects those on supervision to work and follow the rules. E.g., United

States v. Thomas, No. 1:07-CR-72, 2012 WL 3870523, at *2 (N.D. Ind. Sept. 6, 2012). While

asking for permission to travel may be a burden, it is one faced by every offender on

supervision. Defendant does not contend that the probation office has unreasonably denied

any of his requests, or that he is often called upon to travel on such short notice that he cannot

first seek approval. See, e.g., United States v. Gardner, No. 03-CR-194, 2012 WL 4864997,

at *2 (E.D. Wis. Oct. 12, 2012) (denying request for early termination based on travel

restrictions where the defendant did not allege that his probation officer refused any requests

to leave the district); United States v. O’Hara, No. 00-CR-170, 2011 WL 4356322, at *3 (E.D.

Wis. Sept. 16, 2011) (“[A] defendant on supervision may be granted permission to leave the

district with the approval of the supervising probation officer or the court, and defendant does

not state that any such requests have been made or denied in his case.”). Finally, defendant

fails to explain how his being on supervision impedes his advancement within the USPS, which

hired him notwithstanding that status. See, e.g., United States v. Hartman, No. 3:00-cr-228,

2013 WL 524257, at *4 (N.D. Tex. Jan. 18, 2013) (“Even by Mr. Hartman’s own depiction of

changed circumstances, this is not an instance in which Mr. Hartman’s supervised release is

actually interfering with or precluding Mr. Hartman’s chosen form of employment.”), adopted,

2013 WL 540490 (N.D. Tex. Feb. 13, 2013); White, 2012 WL 5198364, at *3 (denying early

                                                3


    Case 2:03-cr-00194-LA        Filed 09/04/13     Page 3 of 4    Document 835
termination where the defendant presented no evidence that supervision interfered with his

employment).

       The pertinent § 3553(a) factors also support continued supervision. As I noted at his

original sentencing, defendant presented with significant positives, including no prior criminal

record and a solid educational and employment history; nevertheless, he occupied a significant

role in a large scale cocaine conspiracy. In the hierarchy of the conspiracy, he stood in the

second highest tier as far as drug weight. He also possessed a firearm in his home along with

drugs. See 18 U.S.C. § 3553(a)(1). While it appears that defendant is now on right track, he

also presented as a somewhat unusual drug trafficker originally, and I considered his

education/employment history and ability to succeed in the community in imposing the original

sentence. Continued supervision is necessary to protect the public and deter further violations

of the law. See 18 U.S.C. § 3553(a)(2)(B) & (C). Defendant does not appear to have

significant correctional treatment needs, see 18 U.S.C. § 3553(a)(2)(D), and he owes no

restitution, see 18 U.S.C. § 3553(a)(7), but granting early termination would create unwarranted

disparity with other offenders convicted under § 841(b)(1)(A). See U.S.C. § 3553(a)(6).

       THEREFORE, IT IS ORDERED that defendant’s motion (R. 832) is DENIED.

       Dated at Milwaukee, Wisconsin, this 4th day of September, 2013.

                                          /s Lynn Adelman
                                          ________________________________________
                                          LYNN ADELMAN
                                          District Judge




                                               4


    Case 2:03-cr-00194-LA       Filed 09/04/13     Page 4 of 4   Document 835
